                 Case 1:19-cv-05636-SDG Document 65-1 Filed 04/23/21 Page 1 of 1


Alisha Holland

From:                Dean Fuchs <d.fuchs@swtwlaw.com>
Sent:                Thursday, April 15, 2021 10:19 AM
To:                  Alisha Holland
Cc:                  David Turner; David M. Caves; Raymond R. Rinkol Jr.
Subject:             FIMIC, SrL v. ADG Solutions, Inc.; CAFN 1:19-cv-05636-SDG / request for discovery telephone
                     conference



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Ms. Holland:

On behalf of Defendant ADG Solutions, Inc., we request another discovery telephone conference with Judge Grimberg in
this civil action. The purpose of the call is to discuss Defendant FIMIC, S.r.L.’s failure to adequately supplement its
discovery responses as required by Judge Grimberg’s Order following the last telephone conference with the
Court. [Doc. 58]. As always, I appreciate your assistance.

Regards,

Dean R. Fuchs
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Mr. Fuchs is a registered mediator and arbitrator serving northern and middle Georgia, specializing in resolving
employment‐related disputes, including wage and hour matters, discrimination/hostile work environment and
retaliation claims, restrictive covenants, and various other forms of employment claims and disputes. Reasonable rates ‐
no administrative fees ‐ conference rooms available in comfortable, downtown office setting – parking validated.

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